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               IN THE UNITED STATES COURT OF APPEALS
                       FOR THE NINTH CIRCUIT
                           _________________

                                   No. 20-15568

                              MACKENZIE BROWN,

                                              Plaintiff-Appellant

                                         v.

                           STATE OF ARIZONA, et al.,

                                           Defendants-Appellees
                                ________________

        ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF ARIZONA
                        _________________

                  MOTION OF THE UNITED STATES
       TO PARTICIPATE IN ORAL ARGUMENT AS AMICUS CURIAE
               IN SUPPORT OF PLAINTIFF-APPELLANT
                         _________________

      Pursuant to Federal Rule of Appellate Procedure 29(a)(8), the United States

respectfully seeks permission to participate in oral argument of this appeal before

the en banc court. In support of this motion, the United States provides as follows:

   1. On January 25, 2022, a divided panel of this Court issued an opinion

      affirming the district court’s grant of summary judgment in favor of

      defendants-appellees.
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2. On March 25, 2022, plaintiff-appellant petitioned for panel rehearing or

   rehearing en banc. After defendants-appellees responded to the petition on

   April 20, 2022, the panel invited the Government to file a brief as amicus

   curiae addressing whether the case should be reheard en banc.

3. On August 8, 2022, the United States filed an amicus brief in support of

   plaintiff-appellant, urging the Court to grant the petition for rehearing en

   banc and reverse the district court’s judgment.

4. On December 9, 2022, the Court ordered that the case be reheard en banc.

   Oral argument before the en banc court is scheduled for March 21, 2023.

5. The United States has a substantial interest in this appeal, which concerns

   the proper application of Title IX of the Education Amendments of 1972, 20

   U.S.C. 1681 et seq., and the circumstances when a school receiving federal

   funds may be held liable for damages under the statute if it responds with

   deliberate indifference to known acts of student-on-student sexual

   harassment. The Department of Justice coordinates the implementation and

   enforcement of Title IX’s nondiscrimination provisions across federal

   executive agencies, see Exec. Order No. 12,250, 3 C.F.R. 298 (1980 comp.),

   and it enforces Title IX against recipients of funding from the Department.

   The Department of Education also oversees its funding recipients’

   compliance with Title IX. And both agencies have issued regulations
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   implementing Title IX. See 28 C.F.R. 54 (Dep’t of Justice); 34 C.F.R. 106

   (Dep’t of Education).

6. Because of the federal government’s strong interest in the proper application

   of Title IX, the United States filed a brief as amicus curiae in support of

   plaintiff-appellant when the Court was considering whether to rehear the

   case en banc. Now that the case is set to be reheard, and given this same

   interest, the United States requests leave to participate in the oral argument

   of this appeal and believes that its participation will be helpful to the Court.

7. Counsel for plaintiff-appellant consents to the United States’ participation at

   oral argument. Counsel has agreed to cede twelve (12) minutes of her oral

   argument time to the United States if this motion is granted. Therefore, the

   United States’ participation at oral argument will not affect the overall time

   allotted for this case.

8. Counsel for the United States contacted counsel for defendants-appellees

   regarding this motion, and they stated that defendants-appellees oppose the

   United States’ request.
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      WHEREFORE, the United States respectfully requests leave to participate in

the oral argument of this appeal before the en banc court.

                                              Respectfully submitted,

                                              KRISTEN CLARKE
                                               Assistant Attorney General

                                              s/ Jason Lee
                                              NICOLAS Y. RILEY
                                              JASON LEE
                                               Attorneys
                                               U.S. Department of Justice
                                               Civil Rights Division
                                               Appellate Section
                                               Ben Franklin Station
                                               P.O. Box 14403
                                               Washington, D.C. 20044-4403
                                               (202) 598-1317
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                       CERTIFICATE OF COMPLIANCE

        I certify that the attached MOTION OF THE UNITED STATES TO

PARTICIPATE IN ORAL ARGUMENT AS AMICUS CURIAE IN SUPPORT OF

PLAINTIFF-APPELLANT

        (1) complies with the type-volume limitation imposed by Federal Rule of

Appellate Procedure 27(d)(2)(A) because the motion, excluding the parts exempted

by Federal Rule of Appellate Procedure 32(f), contains 484 words; and

        (2) complies with Federal Rule of Appellate Procedure 27(d)(1)(E) because

it meets the typeface requirements of Federal Rule of Appellate Procedure 32(a)(5)

and the type-style requirements of Federal Rule of Appellate Procedure 32(a)(6) by

using a proportionally spaced typeface (14-point Times New Roman font) in Word

2019.

                                              s/ Jason Lee
                                              JASON LEE
                                               Attorney

Date: February 21, 2023
